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The Hon. Robert W. Lehrburger
United States District Court
       for the Southern District of New York

                RE:   Chen-Oster, et al. v. Goldman Sachs & Co., No. 10 Civ. 6950

Your Honor:

        I write on behalf of Plaintiffs and the Class regarding tolling of the claims of
approximately 385 former class members subject to arbitration under Managing Director or
Private Wealth Advisor Agreements (hereinafter, “Excluded Class Members”). See ECF No. 1315.
On January 14, 2022, the Court approved a mail and email notice, which was sent in February,
advising Excluded Class Members that, should they wish to initiate an arbitration of their claims
from the class action, their statute of limitations would start to run on July 1, 2022. See ECF No.
1327 (granting ECF No. 1317).

        With the July 1 date on the horizon, Class Counsel would like to ensure that these
Excluded Class Members understand their options. Based on Class Counsel’s experience during
the Equity Award arbitration selection process, Class Counsel believe that many Excluded Class
Members may not have received the notices for various reasons (moves, spam filtering, etc.).
Respectfully, these individuals are owed a phone call from the attorneys who had been
appointed to represent them advising them of their options. However, Goldman Sachs has taken
the position that Class Counsel may not contact these individuals pursuant to New York Rule of
Professional Conduct 4.2 (for currently employed Managing Directors) and the protective order
(for any telephone number Goldman Sachs provided). Therefore, out of an abundance of
caution, Class Counsel seek the Court’s authorization to contact these approximately 385
individuals via telephone to ensure they are aware that the tolling period will soon be over and
that, should they wish to do so, they understand how to pursue their claims in arbitration.



                                             Respectfully submitted,


                                             Michael Levin-Gesundheit




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